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                 EXHIBIT 1
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                                            April 30, 2025

 Attorney Jeffrey Scott Robbins
 Alexandra Martinez
 131 Dartmouth Street Suite 501
 Boston , MA 02116
 alexandra.martinez@saul.com


 IN RE:         CERTIFICATE OF ADMISSION AND GOOD STANDING


          Enclosed please find the Certificate of Admission and Good Standing for Commonwealth of
 Massachusetts Attorney Jeffrey Scott Robbins . The certificate provides certification of the
 attorney’s date of admission and current good standing at the Bar of the Commonwealth of
 Massachusetts.

          If you have any questions or should need further assistance, please do not hesitate to contact
 the Attorney Services Department at either sjccertsgs@sjc.state.ma.us or 617-557-1050.



                                                   Very truly yours,


                                                   Allison S. Cartwright, Clerk
                                                   Supreme Judicial Court for the County of Suffolk




ASC/jr
Clearance: 04/30/2025 04.29.2025
Enclosures




                                                                                   2025.01_Amended:Version2025.01.01
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                     COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS.




            BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
within and for said County of Suffolk, on                                                 December 22, 1982,

said Court being the highest Court of Record in said Commonwealth:



                                                 Jeffrey Scott Robbins


being found duly qualified in that behalf, and having taken and subscribed

the oaths required by law, was admitted to practice as an Attorney, and, by virtue

thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

that said Attorney is at present a member of the Bar, and is in good standing
according to the records of this Court*.

            In testimony whereof, I have hereunto set my hand and affixed the

                         seal of said Court, this thirtieth                                                  day of             April
                                           in the year of our Lord two thousand and twenty-five.




                                                                                          ALLISON S. CARTWRIGHT, CLERK



* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

         Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for Suffolk County
